                       1:13-cv-01181-JBM-TSH # 203             Page 1 of 9
                                                                                                       E-FILED
                                                                    Friday, 21 September, 2018 09:36:58 PM
                                                                                Clerk, U.S. District Court, ILCD

                  IN THE UNITED STATES DISTRICT COURT
          FOR THE CENTRAL DISTRICT OF ILLINOIS PEORIA DIVISION

NATURAL RESOURCES DEFENSE           )
COUNCIL, RESPIRATORY HEALTH         )
ASSOCIATION, and SIERRA CLUB, INC., )
                                    )
           Plaintiffs,              )                 Case No. 13-cv-1181
                                    )                 United States District Judge
                       v.           )                 Joe Billy McDade
                                    )                 Magistrate Judge
ILLINOIS POWER RESOURCES            )                 Thomas P. Schanzle-Haskins III
GENERATING, LLC,                    )
                                    )
           Defendant.               )

            ILLINOIS POWER RESOURCES GENERATING, LLC’S
      MOTION TO STRIKE THE DECLARATION OF IAN FISHER (DOC. 184-2)

        Defendant Illinois Power Resources Generating, LLC (“IPRG”) moves to strike the

August 31, 2018 declaration of Plaintiffs’ counsel Ian Fisher (Doc. 184-2) (the “Fisher

Declaration”), filed in support of Plaintiffs’ partial summary judgment motion seeking nine

declarations. Mr. Fisher has not been disclosed as an occurrence witness in this case and he lacks

personal knowledge of the facts stated in his declaration. Instead, akin to a Rule 30(b)(6) witness,

he studied material produced in the case, but then akin to an undisclosed expert witness, he has

purported to apply his understanding of the governing legal standards to the facts he reviewed, a

technical analysis of engineering data that he has no competency to perform.

       Specifically, Mr. Fisher contends (1) that he performed several calculations to determine

the number of times IPRG allegedly violated its opacity and particulate matter (“PM”) limitations;

(2) that he created and executed a custom algorithm for removing events that he deemed to be

excused under his interpretation of the Illinois Administrative Code, and (3) that he calculated the

statutory maximum amount of civil penalties. (Doc. 184-2 at ¶ 6-16, 48, 50, 54.) 1



1
  Mr. Fisher testified that he used Excel spreadsheets and formulas and the work of unidentified
assistants to make those judgments and perform those calculations. Fisher Declaration Paragraphs
                       1:13-cv-01181-JBM-TSH # 203             Page 2 of 9




       Beyond the unusual hybrid nature of Mr. Fisher’s status — he is none of a disclosed

occurrence witness, disclosed expert, or Rule 30(b)(6) witness. IPRG immediately requested not

only back up information for Mr. Fisher’s declaration, but also his deposition. Plaintiffs refused

to present him for deposition on the ground that he is one of Plaintiffs’ counsel and Plaintiffs have

refused to say whether he will appear at trial. 2 Yet, Plaintiffs propose to provide an evidentiary

foundation for rulings by the Court (specifically, that $45 million is the maximum allowable civil

penalty) without having to pass through the crucible of cross-examination. In addition, the

declaration is riddled with errors. It should not be evidence here.

                                          ARGUMENT

       Under Rule 56(c)(4), a summary judgment declaration is proper only if it is “made on

personal knowledge,” sets out “facts that would be admissible in evidence,” and shows that the

“declarant is competent to testify on the matter stated.” Fed. R. Civ. P. 56(c)(4). Argument in a

summary judgment declaration is improper. See, e.g., Smeraldo v. City of Jamestown, 512 F.

App’x 32, 34 (2d Cir. 2013) (“legal argument and factual allegations for which Attorney [] has no

personal knowledge” should be disregarded in summary judgment affidavit). Further, “conclusory

statements” are improper and should not be considered. See Fed. Trade Comm’n v. Vantage Point

Servs., LLC, 266 F. Supp. 3d 648, 654 (W.D.N.Y. 2017). The proponent of a summary judgment

affidavit bears the burden of demonstrating that it conforms to Rule 56(c)(4)’s requirements. See



2-4, 6, 9, 12-13, 22-25, 27-28, 31, 34-35, 37, 41-45, 49, 50-56, 57-62, 64-69, 71 and 73 should be
stricken because they set forth improper legal opinions, arguments, conclusions, unqualified and
inadmissible technical analysis, and facts about which the declarant lacks personal knowledge.
The remaining paragraphs are immaterial to Plaintiffs’ summary judgment motion, are
inconsequential, or purport to authenticate documents the authenticity of which is not disputed.
2
  Are Plaintiffs proposing that Mr. Fisher will present the direct examination of one witness and
then take the stand himself?

                                                 2
                        1:13-cv-01181-JBM-TSH # 203             Page 3 of 9




generally Fed. R. Civ. P. 56 advisory comm. 2010, subdivision (c). Here, the legal opinions,

arguments, conclusions, and technical analysis in the Fisher Declaration are improper.

    1. Paragraphs 2-4, 6, 9, and 12-13 are Inadmissible and Erroneous Conclusions of Law
       Regarding Alleged Opacity and Particulate Matter Violations

       The Court should disregard Mr. Fisher’s legal conclusion that this Court, in its liability

phase Order on Summary Judgment, “found IPRG liable for 2,632 unexcused opacity exceedance

events” which “correspond to 3,600 six-minute periods….” Fisher Decl. par. 6; August 23, 2016

Order, (Doc. 124). The Court’s Order did not quantify a number of opacity events to which the

Order applied. Nor did the Court hold “IPRG liable for 2,279 unexcused particulate exceedance

events” which “correspond to 3,037 six-minute periods….” Fisher Decl. par. 13; see also pars. 3-

4, 9, 12-13, repeating the claim that the Court made a “finding” regarding particular events.

       The Court did not make a “finding” listing the events to which the summary judgment

ruling applied — nor are the figures provided by Mr. Fisher even a straightforward application of

the Court’s ruling to a set of undisputed facts. To the contrary, Mr. Fisher’s math is inaccurate on

its face: Plaintiffs’ lists of opacity and particulate events from which these totals are derived

repeatedly include duplicate instances of the same opacity events. 3 Despite these inaccuracies, the


3
 See, e.g., Exhibit A to Fisher Decl. (ECF # 184-4) at 35 (listing duplicate instances of an opacity
violation occurring at Edwards Stack 1 at 17:18 on November 3, 2010, including one instance with
an 18-minute duration and a second instance of the same event with a 30-minute duration); id. at
37 (improperly listing duplicate instances of an opacity violation occurring at Edwards Stack 1 at
13:48 on January 16, 2011, including duplicate 6-minute durations); id. at 62 (improperly listing
duplicate instances of an opacity violation occurring at Edwards Stack 1 at 12:30 on January 27,
2014, including duplicate 12-minute durations).” See also Exhibit A to Fisher Decl. (ECF # 184-
4) at 98 (improperly listing duplicate instances of a particulate matter violation based on an opacity
violation occurring at Edwards Stack 1 at 17:18 on November 3, 2010, including one instance with
an 18-minute duration and a second instance of the same event with a 30-minute duration); id. at
123 (improperly listing duplicate instances of a particulate matter violation based on an opacity
violation occurring at Edwards Stack 1 at 12:30 on January 27, 2014, including duplicate 12-
minute durations); id. at 2 (including the redundant events in totaling of 2,276 alleged particulate
matter violations).

                                                  3
                        1:13-cv-01181-JBM-TSH # 203             Page 4 of 9




declaration it is lofted up to the Court as something so obvious no cross-examination is necessary.

Of course, since one of the purposes of Mr. Fisher’s declaration is to benchmark a maximum civil

penalty, every error is tens of thousands of dollars.

       Paragraphs 2-4, 6, 9, and 12-13 are a catalogue of erroneous and inadmissible legal

conclusions. Plaintiffs should not be permitted to bootstrap these legal conclusions by dressing

them as “facts,” much less undisputed facts.

   2. Paragraphs 50 and 56, Purporting to Interpret the 8-Minute Exemption in 35
      Illinois Administrative Code § 212.123(b) and to Prescribe an Algorithm for its
      Application, Are Erroneous and Inadmissible Legal Conclusions

       The Court should disregard Mr. Fisher’s pronouncements regarding the legal criteria for

determining the “post-liability exceedances … excused by the 8-minute exemption in 35 Illinois

Administrative Code § 212.123(b).” Fisher Decl. par. 50(a)-(b). Fed. Trade Comm’n v. Vantage

Point Servs., LLC, 266 F. Supp. 3d 648, 654 (W.D.N.Y. 2017) (“[A] court may strike those

portions of a declaration that are not made upon the declarant’s personal knowledge, contain

inadmissible hearsay or make generalized and conclusory statements”).

       The Fisher Declaration articulates four legal criteria for applying the 8-minute rule set forth

in 35 Illinois Administrative Code § 212.123(b) (see Fisher Decl. par. 50(a)-(b)), asserting that

this represents the “methodology . . . the Court adopted for the liability-period exceedances.” The

declaration then argues that “IPRG’s interpretation of the 8-minute exemption is contrary to the

plain text of the Illinois SIP and this Court’s August 2016 summary judgment ruling on liability[.]”

Fisher Decl. par. 56.

       This is improper for two reasons. First, the declaration should be limited to facts based on

personal knowledge or (in the case of an expert witness; Mr. Fisher is not one) opinions. The

statement is argumentative, disputing as it does IPRG’s own interpretation. See, e.g, Smeraldo v.



                                                  4
                       1:13-cv-01181-JBM-TSH # 203            Page 5 of 9




City of Jamestown, 512 F. App’x 32, 34 (2d Cir. 2013) (“legal argument” should be disregarded

in summary judgment affidavit).

       Second, Mr. Fisher implies that the Court has already made a decision that it never made.

Specifically, the Court did not decide, as a matter of law, the correct method for applying the 8-

minute rule, set forth in 35 Ill. Admin. Code § 212.123(b). Contrary to the statements in

Paragraphs 50 and 56 of the Declaration, the Court’s Order on liability phase summary judgment

made no finding of the kind described in the Declaration.

    3. Paragraphs 3, 50, 57-62, and 64-69 Are Unqualified Technical Computations
       Regarding the Application of the 8-Minute Rule and the Application of Startup,
       Malfunction, Breakdown, and Offline Exemptions.

       In addition to striking Mr. Fisher’s proposed procedure for applying the 8-minute rule, the

Court should strike the conclusions derived from his application of that proposed legal standard

to a voluminous set of technical engineering data. 4 See Fisher Decl. pars. 50, 62, 64. Mr. Fisher

claims that he “used Excel formulas and manual review to remove from the post-liability violation

count all exceedances excused by the 8-minute exemption” and “determined that 3,382 of IPRG’s

reported six-minute exceedances for the post-liability period (through June 30, 2018) were not

excluded by the 8-minute exemption . . ..” Fisher Decl. par. 50. Upon what basis did Mr. Fisher

“use” these formulae or make these “determin[ations]?” His personal judgment. He opined on

whether hundreds of events were exempt as taking place during malfunction, breakdown, and

offline periods (Fisher Decl. pars. 3, 57-62, 64-69) (e.g., par. 58: “I calculated that Mr. Keeler




4
 As noted above, Mr. Fisher will not appear for deposition. See September 7, 2018 Letter from
Selena Kyle to Ann MacDonald, attached hereto as Exhibit A.

                                                5
                         1:13-cv-01181-JBM-TSH # 203            Page 6 of 9




decided that 437 of the reported exceedances from July 1, 2014 to December 31 2017 were

attributable to startup”). 5

        Mr. Fisher is not an engineer. He has no qualifying background, education, or experience

in working with pollution control equipment or statistics. He is not qualified to testify regarding

his manual and formula-driven application of the Illinois Administrative Code to thousands of

rows of data.

        There is no proper basis for treating his declaration as evidence. See, e.g., K-Koncrete, Inc.

v. Mack Trucks, Inc., No. 85 C 9538, 1986 WL 12811, at *1 (N.D. Ill. Nov. 7, 1986) (affidavit

stands in for trial testimony: “All that [proponent’s] lawyer need ask himself is whether at trial

[declarant] would be able to take the stand and give as testimony the statements made in his

affidavit—that is, without successful objections from opposing counsel.”); Fed. R. Evid. 701 (lay

witness may not provide opinion testimony based on scientific, technical, or other specialized

knowledge). Moreover, even if Plaintiffs could permissibly introduce Mr. Fisher’s opinions,

analyses, and conclusions regarding the application of the 8-minute rule at trial, they have not

disclosed him as a witness, have not otherwise demonstrated any way that his analysis on the 8-

minute rule would be admissible, and persist in blocking discovery on the ground that he is an

attorney. See Fed. R. Civ. P. 56 advisory comm. 2010, subdivision (c) (“The burden is on the

proponent to show that the material is admissible as presented or to explain the admissible form

that is anticipated”). Paragraphs 3, 50, 57-62, and 64-69 should be stricken.


5
  The declaration is not admissible as an accurate or reliable summary of undisputed facts. For
example, despite purporting to exclude all exceedances which Mr. Keeler indicated were
attributable to startup using the “TRK Code” 1 in Plaintiffs’ MSJ Exhibit U (see Fisher Decl. ¶ 58)
all of these events were not excluded from Plaintiff’s list of post-liability “violations.” See, e.g.,
Plaintiffs’ MSJ Exhibit AP (ECF #186-15) at 14 (listing event occurring at Edwards Stack 1 at
5:24 on May 18, 2016 with “TRK Code” 1) and Plaintiffs’ MSJ Exhibit U (ECF #184-30) at 14
(including that same startup event in list of post-liability violations).

                                                  6
                        1:13-cv-01181-JBM-TSH # 203             Page 7 of 9




    4. Paragraphs 22-25, 27-28, 31, 34-35, 37, 41-45, 49, 52, 71, and 73 Set Forth
       Statements Outside of the Declarant’s Personal Knowledge, Improper Opinion
       Testimony, and Improper Conclusory Characterizations of Facts.

       The Fisher Declaration also includes statements about which Mr. Fisher lacks personal

knowledge. In Paragraph 22, Mr. Fisher purports to authenticate as “true and correct” a copy of an

Edwards Plant budget document which he characterizes as “provid[ing] for more than $70 million

in capital spending at Edwards in the years 2018 to 2022.” In Paragraph 23, Mr. Fisher purports to

authenticate an altered version of another IPRG budget document, characterizing the document as

“provid[ing] for more than $152 million in operations and maintenance spending in the years 2018

through 2022.” Mr. Fisher lacks personal knowledge necessary to authenticate an Edwards budget

document or to opine on what the capital forecast or operations maintenance plan “provides.”

       In Pars. 24-25, 27-28, 31, 34-35, 37, and 41-45, Mr. Fisher purports to authenticate a host

of Dynegy and Vistra documents about which he also lacks personal knowledge. In Pars. 49, 52,

and 73, he makes claims regarding the number of times the Plant “reported” six-minute opacity

exceedances to IEPA and “notified” IEPA of exceedances attributable to malfunctions and

breakdowns — additional facts about which he lacks personal knowledge. 6




6
  The Court has no basis for accepting the assertion that this is a simple “compilation” reflecting
underlying undisputed facts. Fisher Declaration par. 52 asserts that 681 exceedance events
occurred between July 1, 2014 and June 30, 2018 and Plaintiffs’ motion asserts that those 681
events are represented in Exhibit T, but the events identified in Exhibit T do not constitute the only
exceedance events between July 1, 2014 and June 30, 2018 for which the Plant provided a
notification to Illinois EPA under Permit condition 5c. See, e.g., Lindenbusch Decl. at ¶ 12, Ex.
D (Ex. 4 to IPRG’s Resp. to Plaintiff’s MSJ) (notice provided to IEPA of event occurring at
Edwards Stack 3 at 1:00 on June 30, 2018); (Exhibit T, Doc. # 192-2) (excluding that notice). To
the contrary, Mr. Fisher’s methodology appears unsound and is untested (see n. 3, supra; Exhibit
A hereto).

                                                  7
                       1:13-cv-01181-JBM-TSH # 203            Page 8 of 9




       In Par. 71, Mr. Fisher opines that exceedances of the 30% opacity limit “remain frequent.”

He is not qualified to provide opinion testimony on whether exceedances are frequent (Fed. R.

Evid. 701), and it is improper to use a Declaration to make this argument.

       WHEREFORE, for the foregoing reasons, Defendant IPRG respectfully requests that this

Court strike the Fisher Declaration (Doc. 184-2).

Dated: September 21, 2018                    Respectfully submitted,


                                             /s/ Ann H. MacDonald


Hinshaw & Culbertson LLP                     SCHIFF HARDIN LLP
J. William Roberts                           Barry Hyman
Charles R. Schmadeke                         Francis X. Lyons
400 South Ninth Street, Suite 200            Bina Joshi
Springfield, IL 62701                        Ann MacDonald
Telephone: 217-528-7375                      233 South Wacker Drive, Suite 7100
cschmadeke@hinshaw.law.com                   Chicago, IL 60606
                                             Telephone: 312-258-5500
                                             bhyman@schiffhardin.com
                                             flyons@schiffhardin.com
                                             bjoshi@schiffhardin.com
                                             amacdonald@schiffhardin.com

                                             Counsel for Defendant Illinois Power Resources
                                             Generating, LLC




                                                8
                       1:13-cv-01181-JBM-TSH # 203            Page 9 of 9




                                    CERTIFICATE OF SERVICE

       The undersigned attorney certifies that on September 21, 2018, a copy of IPRG’s Motion

to Strike the Declaration of Ian Fisher (Doc. 184-2) was electronically served upon all Counsel of

Record using the CM/ECF system.

       /s/ Ann H. MacDonald
